          Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 1 of 13




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

   STATE OF NEW YORK, et al.,

                       Plaintiffs,

                 v.                          18-CV-2921 (JMF)

   UNITED STATES DEPARTMENT
   OF COMMERCE, et al.,

                       Defendants.

   NEW YORK IMMIGRATION
   COALITION, et al.,

                       Plaintiffs,
                                             18-CV-5025 (JMF)
                 v.                          (Consolidated)

   UNITED STATES DEPARTMENT
   OF COMMERCE, et al.,

                       Defendants.


                        NYIC PLAINTIFFS’ REPLY BRIEF IN
                      SUPPORT OF MOTION FOR SANCTIONS




US 165276510v1
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 2 of 13




       Cutting through the hedges, caveats, and non-denial denials, Defendants’ response

confirms Defendants engaged in extensive misconduct to hide the pretextual nature of the VRA

rationale and the true reasons they sought to add the citizenship question. The declarations and

brief are a studied exercise in admission by omission, crafted to avoid addressing critical points.

Ex. 1. Indeed, of the 26 questions posed at pages 25-27 of the opening brief, Defendants address

only 9, and those are only partial responses. Ex. 2. Defendants instead leave a patchwork of

unrebutted facts and open questions. They do not deny that Hofeller came up with the pretextual

VRA rationale or that he did so at the request of someone at (or working at direction of)

Commerce. But Defendants are silent about who engaged Hofeller, or how Hofeller’s VRA

language came into Neuman and then Gore’s possession. Nor do Defendants say whether they

understood (or intended) that the citizenship question would enable redistricting advantageous to

“Republicans and Non-Hispanic Whites.” Defendants’ excuses for their obfuscation, including

concealing Neuman’s and Hofeller’s involvement, are unsatisfactory.

       The Court has at its disposal mechanisms to uncover the extent of Defendants’

wrongdoing—including authorizing Plaintiffs to obtain materials from third parties (such as

Neuman), and compelling both testimony and production of withheld materials that would

permit actual verification of Defendants’ denials. The Court should sanction Defendants and

permit targeted discovery to confirm the extent of misconduct and the persons responsible.

I.     DEFENDANTS FAIL TO REFUTE EVIDENCE OF THEIR MISCONDUCT

1.     Defendants Fail to Answer Why or How Gore Obtained Hofeller’s Language

       Defendants do not and cannot dispute that at their depositions, neither Neuman nor Gore

admitted that Neuman provided the Neuman draft to Gore. Nor do they dispute that Neuman

testified Hofeller was the “first person” to suggest adding a citizenship question, or that when he

                                                 1
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 3 of 13



was questioned about the Neuman draft, Neuman testified he worked on draft “versions” and that

Commerce officials reviewed draft “versions.” ECF 635-2, Ex. 12 at 51, 278-84. Defendants

characterize his testimony as “uncertain,” Opp. 18, but also argue there is “no evidence that

Neuman provided false testimony,” Opp. 21. Defendants’ summary of Neuman’s testimony

elides key passages, including that “others at the Department of Commerce were reviewing and

offering thoughts on draft versions of this letter,” that when asked to identify participants he said

“there are a lot of cooks in the kitchen” and that although he was “blurring” some people he

specifically named Davidson, Comstock, and Uthmeier. ECF 635-2, Ex. 12 at 283-84.

       Defendants’ declarations fail to address this and other significant issues. Exs. 1&2. For

example, while Davidson, Comstock, and Uthmeier all deny having “received” or “seen” the

Neuman letter “prior to the litigation” (Davidson ¶6, Uthmeier ¶6, Comstock ¶3), only Davidson

avers that he was contemporaneously unaware of the Neuman letter. Davidson ¶5. Similarly,

while all three deny having “met, communicated with, or spoken to” Hofeller (Comstock ¶2,

Davidson ¶2, Uthmeier ¶11), none address whether they knew that someone else was requesting

that Hofeller help develop the VRA rationale. Davidson and Uthmeier do not deny that they

arranged the meeting between Neuman and Gore, at which Neuman provided Gore with the

Hofeller-concocted VRA rationale. Nor do Davidson, Uthmeier, or Comstock contest that they

understood adding a citizenship question would enable redistricting advantageous to

“Republicans and Non-Hispanic Whites.” And Uthmeier does not explain what he meant when

he wrote “our hook” is “[u]ltimately, we do not make decisions on how the [citizenship] data

should be used for apportionment . . .” PX-607.

       Tellingly, Defendants have not provided a declaration from Neuman—their “trusted

advisor,” “analogous[] to an agency employee” (ECF No. 451 at 3)—who presumably could



                                                  2
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 4 of 13



address these issues. While Uthmeier’s declaration says that Neuman testified incorrectly that

Comstock, Davidson, or Uthmeier reviewed “versions” of the letter (Uthmeier ¶9) neither

Defendants nor Uthmeier explain why Uthmeier (who attended the deposition as counsel for

Commerce) failed to correct the record contemporaneously. And Uthmeier’s declaration is silent

on why he failed to correct other demonstrably false testimony, including that Neuman’s meeting

with Gore was not about a draft DOJ letter requesting a citizenship question on the 2020 Census,

that Neuman gave Gore only a different document (not the Neuman letter) at that meeting, that

Neuman was not involved in the drafting process for the DOJ letter at all, etc.

       Several other related points bear emphasis. First, all of this occurred against the

backdrop of Defendants adamantly opposing the Rule 45 testimony and document subpoena to

Neuman, denying that “Neuman provided any particularly significant consultations on the

citizenship question.” ECF 346 at 2. Defendants contend that statement is taken out of context

and that they “provided a full account of Neuman’s role” and “accurately characterized the

record evidence.” Opp. 27. But the September 21, 2018 letter they cite (ECF 346) failed to note

(i) Neuman met with Gore at Davidson and Uthmeier’s behest, (ii) Neuman provided the

Neuman letter to Gore, (iii) Neuman worked on draft versions of the letter with senior

Commerce personnel, including Davidson, Uthmeier, and Comstock, and (iv) the Neuman letter

contained the VRA rationale for adding a citizenship question (drafted by Hofeller).

       Second, Defendants dispute the Neuman letter is a “draft” of the DOJ Request Letter,

contending “no reasonable reader could conclude that the Neuman letter is a ‘first draft’ of the

Gary Letter.” Opp. 5. But when Neuman was presented with the letter at his deposition, he

confirmed it appeared to be a “draft” of the DOJ request letter. ECF 635-2, Ex. 12 at 279-80.

And when Gore was questioned by congressional investigators, he admitted that the letter he



                                                 3
          Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 5 of 13



received from Neuman was a “draft letter that would request reinstatement of the citizenship

question . . .. .” ECF 635-2, Ex. 13, Tr. 26. Moreover, Defendants give no explanation for the

overlap between the substantive content of the two letters related to sophisticated and nuanced

issues, most notably the purported need for block-level citizenship data to enforce the VRA. In

addition to having similar discussion of Census history and the VRA rationale, both the Neuman

draft and the DOJ Request letter contain virtually identical closing language. 1

         Third, Defendants state they are not in a position “to assess the completeness of

Neuman’s response to Plaintiffs’ subpoena” (Opp. 25), but they do not dispute Neuman failed to

produce his correspondence with Hofeller or Commerce personnel. And their attempt to deflect

blame to Neuman and his private counsel falls short considering their admission that they

interceded in his document production. Opp. 26. Defendants do not address why they cannot

produce their complete correspondence with Neuman or his counsel; there is no privilege that

would shield such communications. Defendants also provide no reason why the Court should

not order Neuman to comply fully and completely with the subpoena issued to him.

         Fourth, Defendants failed to timely produce the Neuman letter from Gore’s files.

Defendants’ response—that there was a temporary stay that extended the fact discovery cutoff,

Opp. 4, 6—does not explain why (i) when served with a subpoena on July 20, they delayed

identifying the Neuman letter on a log until October 3, (ii) they withheld the document at all, or

(iii) they did not immediately produce the document when Plaintiffs challenged the designation

on October 5. As for their belated production, Defendants do not explain why they relabeled the

document, and they falsely represent that “for the sake of clarity” (Opp. 6) the document



1
  Compare ECF 635-1 Ex. 1 (“Please let me know if you have any questions about this letter or wish to discuss this
request . . . Sincerely yours”) with Ex. 9 (“Please let me know if you have any questions about his letter or wish to
discuss this subject . . . Sincerely yours”).

                                                          4
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 6 of 13



continued to bear the Bates number 15199 when there is nothing in the cover email or file title

reflecting that Bates number.

       As for their justification of the representation that “no metadata exists for author,

recipient, date, or time” (Opp. 8) this is a classic illustration that a statement “may be completely

misleading although every sentence separately considered is literally true.” FTC v. Sterling

Drug, Inc., 317 F.2d 669, 675 (2d Cir. 1963) (citation omitted). More troubling, Defendants

provide an unsatisfactory explanation for why Gore failed to prevent the misrepresentation.

They cite no authority for their assertion that Gore cannot “be held responsible for what is or is

not stated on DOJ’s privilege log.” Opp. 7-8. Beyond being a witness, he is (or was) a senior

official at the DOJ. And Gore’s explanation—that he did not “realize[] that the document in my

possession must have come from Mr. Neuman” until “after Mr. Neuman produced the Neuman

Letter” (Gore ¶17)—is contrary to Defendants’ previous assertion that anyone who did not know

that “Gore had the Neuman letter” suffered from “obliviousness.” ECF 601 at 3. Nor does it

explain why Gore failed to correct the misrepresentation when he purportedly remembered the

provenance of the Neuman letter.

       Finally, neither Davidson nor Uthmeier contest Gore’s statement to congressional

investigators that he had a “dozen” interactions with them about the DOJ request letter, at least

one of which concerned apportionment. ECF 635-2, Ex. 13 at 21. Yet, during his deposition,

Gore did not identify Uthmeier (or Neuman or Hofeller) as having provided “input” into his

letter, and as Defendants emphasize (Opp. 8), he testified that he had a conversation with

Davidson (ECF 648-1, Ex. 5 at 137), not the “dozen” he told congressional investigators. As

noted in Plaintiffs’ opening brief, almost none of these communications are reflected in the

Administrative Record. According to both Davidson and Uthmeier, there are no “notes” or



                                                  5
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 7 of 13



“written communications” reflecting these discussions. Davidson ¶10, Uthmeier ¶12. The effort

to avoid a paper trail is troubling, as they closely followed Secretary Ross’s directive—when

advised by Comstock to be mindful of the Administrative Record in light of judicial review—

that “we should be very careful, about everything. . . .” AR 12476. All of this suggests a

purposeful effort to frustrate judicial review. Cf. D.C. Federation of Civic Ass’n v. Volpe, 459

F.2d 1231, 1237 (D.C. Cir. 1972) (the “non-existence of any contemporaneous administrative

record is [] serious.”). Davidson, Uthmeier, and Comstock should all give a full accounting of

their misconduct.

2.     Defendants Fail to Confirm Completeness of the Administrative Record

       Plaintiffs’ opening brief cited evidence that Comstock, Uthmeier, Davidson, and Jones

failed to provide all of their materials in the Administrative Record or in response to discovery

requests. ECF 635 at 11-16. While Uthmeier has averred that he “followed all policies and

regulations regarding use of email to conduct official business” and did not “withhold, direct

anyone to withhold, or become aware that anyone had withheld documents or information

required in discovery, or for purposes of the administrative record” (Uthmeier ¶¶3, 14), the other

three do not provide such assurances. Davidson limits his representation to “documents or

information required to be produced in discovery” but fails to aver to the Administrative Record.

Davidson ¶11. And there is no assurance in Comstock or Jones’ declarations at all. See Ex. 3.

       The lack of assurance is troubling. As discussed above, Comstock initiated a discussion

about the importance of curating the Administrative Record, and Davidson appears to have

purposefully avoided creating a paper trail. Jones’s declaration confirms that she continued to

communicate with Hofeller after January 2017 (Jones ¶2), and she does not dispute that her

practice was to use her Hotmail account for such communications. While she states “to my



                                                 6
         Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 8 of 13



knowledge, I did not exchange any written correspondence with Dr. Hofeller” since 2017,

Defendants do not represent that Jones or anyone else actually checked her email to confirm this

was accurate or for materials responsive to discovery requests. Moreover, while Jones asserts

that she does not recall communicating with Hofeller about the citizenship question “[s]ince

January 2017,” she says nothing about communications with Hofeller during the Presidential

transition, when Hofeller was speaking with transition officials about this very issue.

        There are equally troubling inconsistencies between Uthmeier’s declaration and the

record. For example, he states that he has “no recollection of speaking to anyone at the White

House concerning the citizenship question until . . . after December 12.” Uthmeier ¶13. That is

not what he told congressional investigators.2 Like Davidson, Uthmeier appears to have engaged

in a concerted effort to avoid a paper trail, failing to document his communications with John

Baker, Gore, or Neuman. Uthmeier ¶¶5, 7-8, 12. Uthmeier does not deny using his personal

email account to conduct official business; Defendants now acknowledge they misstated this in

their brief. ECF 651. While Uthmeier attests as to his compliance with Commerce Department

policies regarding use of personal emails, (i) there are no documents in the Administrative

Record reflecting this compliance (i.e., no evidence he forwarded his personal emails to his

official government email address), and (ii) neither Defendants nor Uthmeier have represented

that anyone actually searched his personal email for responsive documents.

        Finally, there is a disconnect between Uthmeier’s statement that he started working on

the question in “spring of 2017” and that “for several months thereafter” he “received hundreds

of pages of materials,” all of which have purportedly been included in the Administrative Record


2
  In response to a question what he did after providing his memo to Comstock and his early September emails,
Uthmeier stated “I consulted John Gore at the Department of Justice. . . And I would have provided updates to
individuals at the White House.” ECF 635-2 Ex. 14 at 90. There is no suggestion in this testimony that he was
referring to events that occurred after the DOJ Request.

                                                        7
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 9 of 13



(Uthmeier ¶4), and the actual Administrative Record, which contains virtually nothing from this

period. Defendants’ support their argument that the Administrative Record must have been

complete by citing a sole email from Uthmeier from April 20, 2017. Opp. 11. This solitary

email is hardly consistent with Uthmeier’s assertion that he received hundreds of pages of

materials. Moreover, a log of materials (Ex. 3) involving the “several months” Uthmeier

references (i.e., the four month period prior to Uthmeier sending his memo to Comstock on

August 11) reflect he was involved in eighteen documents in the Administrative Record and four

produced in discovery—hardly the “hundreds of pages of materials” referenced in his

declaration. See Ex. 3. Uthmeier nowhere explains what happened to these materials.

3.     Defendants Fail to Provide Sufficient Assurance Regarding their Interrogatory Response

       Defendants have provided no reasonable assurance that their response to Interrogatory

No. 1 is complete and accurate. Neither the declarations of Comstock (who verified the original

answers) nor Uthmeier confirm the completeness of the answer. Regarding the omissions

Plaintiffs identified, Uthmeier’s assertion that his White House contacts were exclusively after

the Request letter is not what he told congressional investigators. And he has not specified with

whom (beyond John Zadrozny) he discussed the citizenship question that would allow

verification of the interrogatory response’s accuracy.

       As to knowledge within DOJ, Plaintiffs previously raised completeness in the context of

Comstock’s testimony that the June 21 supplemental memo was drafted by DOJ; Defendants did

represent to the Court on October 24 that the interrogatory response encompasses “all facts

known” to DOJ. What Defendants neglect to mention is that the day before making this

representation, DOJ dumped over 90,000 pages and three additional privilege logs on Plaintiffs.

It was only after these materials could be reviewed that it was apparent that almost a dozen



                                                 8
        Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 10 of 13



individuals at the highest levels of DOJ provided input on the supplemental memo. See ECF

635-5, Exs. 48 & 49. DOJ made no representation on October 24 that they had interviewed any

of these people, and their brief still provides no such assurance.

       Finally, Defendants acknowledge their failure to disclose Baker, Neuman, and Hofeller,

but claim they were under no obligation to make such disclosure because they were not

government officials. Opp. 20 n.9. But that ignores the fact that, in their interrogatory,

Defendants made a specific representation that for the “sake of completeness,” they were

identifying a non-government official, Kris Kobach. ECF 635-4, Ex. 39 at 2-3. A party who

voluntarily discloses information “assumes a duty to speak fully and truthfully on those

subjects.” See, e.g., Helwig v. Vencor, Inc., 251 F.3d 540, 561 (6th Cir. 2001).

II.    DEFENDANTS ARE INCORRECT ON KEY LEGAL ISSUES

       Defendants’ response is a case study in using deliberative process privilege as both a

shield and a sword. Inisting they were not engaged in a fraud and denying Hofeller’s role and

minimizing Neuman’s, Defendants bookend their response with five declarations that purport to

detail the drafting process and Neuman’s and Hofeller’s lack of involvement, all while shielding

the actual drafting documents under deliberative process and work product privilege.

Defendants cannot have it both ways—they cannot use self-selected, self-serving evidence about

their process to escape sanctions while they deny Plaintiffs access to the record about that same

process. For this reason and under the balancing test (which Defendants do not address), the

Court should find that the deliberative and work product privileges are waived as to the

documents identified in ECF 635-5, Exs. 42-49.

       Defendants’ response on the fraud exception misstates the case law: there is no

requirement to prove the exception on a document-by-document basis. Rather, In re Richard



                                                  9
         Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 11 of 13



Roe, Inc., 168 F.3d 69, 71 (2d Cir. 1999) merely recognized that the party invoking the exception

must demonstrate that “there is probable cause to believe that a crime or fraud has been

attempted or committed and that the communications were in furtherance thereof.” Plaintiffs

meet that standard because Defendants attempted to perpetrate a fraud on the public and the

Court through their use of the false VRA rationale and subsequent cover up of the true rationale

in litigation.3 Defendants do not dispute that the small number of documents at issue were in

furtherance of fraudulent conduct and fraud on the Court. Plaintiffs are not required to show

anything more for the fraud exception to apply.

         Finally, Defendants are wrong on the relief sought. First, Plaintiffs’ request for findings

as to the persons responsible and the extent of misconduct does not amount to an “advisory”

opinion. There is nothing at all “advisory” about a conclusion backed up with factual findings

that a party perpetrated a fraud on the Court. Second, waiver of privilege as to a limited set of

documents is appropriate where, as here, Defendants’ misconduct was not limited to creating and

promulgating a false explanation for adding a citizenship question but also litigation misconduct

(including misrepresentations to the Court) to conceal that truth. Defendants’ efforts to

distinguish authority finding privilege waiver as a sanction are unavailing. Finally, since the

motion was filed, the parties have settled Plaintiffs’ claim for attorneys’ fees, and any further

work the Court authorizes will be done pro bono. That said, Defendants are wrong that they

cannot be assessed attorneys’ fees as a sanction. See, e.g., FDIC v. Maxxam, Inc., 523 F.3d 566,

595-97 (5th Cir. 2008); Adamson v. Bowen, 855 F.2d 668, 671 (10th Cir. 1988).




3
  Contrary to Defendants’ argument, nothing in Conservation Force v. Jewell, 66 F. Supp. 3d 46 (D.D.C. 2014)
suggests that an agency can maintain a privilege with respect to documents used to proffer a false, pretextual
justification for a decision that the agency then perpetrates a fraud on the court in its defense of the decision.

                                                          10
      Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 12 of 13



Dated: August 9, 2019                          Respectfully submitted,

                                               ARNOLD & PORTER KAYE SCHOLER
                                               LLP
                                               AMERICAN CIVIL LIBERTIES UNION
                                               NEW YORK CIVIL LIBERTIES UNION


                                               By: /s/ John A. Freedman


Dale Ho                                        Andrew Bauer
Adriel Cepeda Derieux                          Arnold & Porter Kaye Scholer LLP
American Civil Liberties Union Foundation      250 West 55th Street
125 Broad St.                                  New York, NY 10019-9710
New York, NY 10004                             (212) 836-7669
(212) 549-2693                                 Andrew.Bauer@arnoldporter.com
dho@aclu.org

Sarah Brannon+*                                John A. Freedman
Davin Rosborough                               R. Stanton Jones+
Ceridwen Cherry                                David P. Gersch
American Civil Liberties Union Foundation      Elisabeth S. Theodore+
915 15th Street, NW                            Daniel F. Jacobson+
Washington, DC 20005-2313                      Arnold & Porter Kaye Scholer LLP
202-675-2337                                   601 Massachusetts Avenue, N.W.
sbrannon@aclu.org                              Washington, DC 20001-3743
* Not admitted in the District of Columbia;    (202) 942-5000
practice limited pursuant to D.C. App. R.      John.Freedman@arnoldporter.com
49(c)(3).

Perry M. Grossman
New York Civil Liberties Union Foundation
125 Broad St.
New York, NY 10004
(212) 607-3300 601
pgrossman@nyclu.org

+ admitted pro hac vice
                                               Attorneys for the NYIC Plaintiffs


                                              11
       Case 1:18-cv-02921-JMF Document 654 Filed 08/09/19 Page 13 of 13



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of August, 2018, the foregoing NYIC PLAINTIFFS’

REPLY BRIEF IN SUPPORT OF MOTION FOR SANCTIONS was served on all counsel of

record via ECF and on Mark Neuman through his counsel in this matter via email and overnight

mail at the following address:


       Howard W. Feldman, Esq.
       FeldmanWasser
       Post Office Box 2418
       1307 South 7th Street
       Springfield, Illinois 62705
       Counsel for A. Mark Neuman

                                               /s/ John A. Freedman
                                               John A. Freedman




                                             12
                                               Case 1:18-cv-02921-JMF Document 654-1 Filed 08/09/19 Page 1 of 3
                                                            Exhibit 1: Comparison of Defendants’ Declarations


       Topic                          Uthmeier                             Davidson                    Comstock          Jones                  Gore
Personal compliance   “I took with utmost seriousness my         “I took with utmost              No language     No language    “I took with utmost seriousness
with completeness     duties and obligations to respond to all   seriousness my duties and                                       my duties and obligations to
of Administrative     requests for discovery in this matter,     obligations to comply with                                      comply with all requests for
Record                and to furnish documents and               all requests for discovery in                                   discovery in this matter to the full
                      information required for inclusion in      this matter to the full extent                                  extent required by law, and as a
                      the administrative record, as required     required by law.” ¶ 11.                                         witness in these proceedings to
                      by law.” ¶ 14.                                                                                             provide complete and accurate
                                                                                                                                 testimony.” ¶ 18.
Role in ensuring      “I took equally seriously my obligation    No language.                     No language     No language    No language.
agency compliance     to ensure that my client responded as
to complete           required to all discovery requests, and
Administrative        included the information required in the
Record                administrative record.”¶ 14.
Direction and          ”At no time did I withhold, direct        ”At no time did I withhold,      No language     No language    ”At no time, including during my
awareness of          anyone to withhold, or become aware        direct anyone to withhold, or                                   deposition, did I withhold, direct
Other’s compliance    that anyone had withheld documents or      become aware that anyone                                        anyone to withhold, or become
to provide a          information required in discovery, or      had withheld documents or                                       aware that anyone had withheld
complete              for purposes of the administrative         information required to be                                      documents or information
Administrative        record, except for documents and           produced in discovery,                                          required to be produced in
Record                information withheld on grounds of         except for documents and                                        discovery, except for documents
                      privilege that were accounted for in       information withheld on                                         and information withheld on
                      Defendant’s privilege logs.” ¶ 14          grounds of privilege that                                       grounds of privilege that were
                                                                 were accounted for in                                           accounted for in Defendants’
                                                                 Defendants’ privilege logs.”                                    privilege logs or Defendants’
                                                                 ¶ 11.                                                           counsel’s objections and
                                                                                                                                 instructions not to answer during
                                                                                                                                 deposition.” ¶ 18.
                                             Case 1:18-cv-02921-JMF Document 654-1 Filed 08/09/19 Page 2 of 3



Role and knowledge   “I never received, reviewed, or           “I did not draft, provide       “I had never seen a     “I had never seen a     “I have no personal knowledge
of Neuman letter     provided any comments or feedback on      comments on, or discuss the     copy of a purported     copy of a purported     regarding who authored,
                     any draft, advance copy, or other         Neuman Letter with anyone,      draft letter from the   draft letter from the   reviewed, commented on, or
                     document purportedly to be sent from      including Mr. Neuman. I         Department of           Department of           contributed to the Neuman
                     the Department of Justice to the Census   have no personal                Justice to the Census   Justice to the Census   Letter.” ¶ 10.
                     Bureau . . . This includes any document   knowledge regarding who         Bureau requesting a     Bureau requesting a
                     purportedly drafted or handled by Mr.     authored, reviewed,             citizenship question    citizenship question
                     Mark Neuman.” ¶ 6. “I am unaware of       commented on, or                (“the Neuman            (“the Neuman
                     others in the Commerce Department         contributed to the Neuman       Letter”), nor did I     Letter”). ¶ 4.
                     receiving, reviewing or otherwise         Letter. Nor have I ever seen    ever comment on
                     commenting on . . . any other draft       any drafts of the Neuman        any drafts of the
                     letter prepared or handled by Mr.         Letter or documents             Neuman letter. To
                     Neuman.” ¶ 8.                             resembling the Neuman           the best of my
                                                               Letter.”¶ 6.                    knowledge, none of
                                                                                               my staff worked on
                                                                                               or provided
                                                                                               comments on the
                                                                                               Neuman letter.” ¶ 3.
Awareness of         No language.                              “I was unaware that A.          No language.            No language.            “I received from Mark Neuman a
Neuman letter                                                  Mark Neuman . . . had in                                                        draft letter concerning a
                                                               his possession a draft letter                                                   citizenship question on the census
                                                               concerning a citizenship                                                        questionnaire (“the Neuman
                                                               question on the census                                                          Letter”), when I met with Mr.
                                                               questionnaire. . . I never                                                      Neuman around October 2017.”
                                                               discussed a draft letter                                                        ¶ 6.
                                                               with Mr. Neuman.” ¶ 5.




                                                                                     2
                                            Case 1:18-cv-02921-JMF Document 654-1 Filed 08/09/19 Page 3 of 3



Role of Commerce   “I never received, reviewed, or            “We discussed the drafting       “I never saw any     No language.            “During the time that I was
in DOJ Request     provided any comments or feedback          and the timing of a letter       drafts of the                                drafting the Gary Letter, I had
Letter             on any draft, advance copy, or other       from the Department of           Department of                                discussions with Peter Davidson
                   document purportedly to be sent from       Justice about the citizenship    Justice’s December                           and James Uthmeier . . . about
                   the Department of Justice to the Census    question. We also discussed      12, 2017 letter . ..                         the citizenship question. I
                   Bureau. . .” ¶ 6.                          the possible content of such a   nor did I have any                           discussed with Mr. Davidson and
                   “I did not provide any comments or         letter in general terms.” ¶ 7.   discussions with                             Mr. Uthmeier the drafting and
                   feedback on [the DOJ letter.]” ¶ 7.                                         anyone at DOJ about                          the timing of a letter from the
                   “I am unaware of others in the                                              the Gary Letter.” ¶                          Department of Justice to request
                   Commerce Department receiving,                                              4.                                           reinstatement of a citizenship
                   reviewing or otherwise commenting on                                                                                     question on the census
                   drafts of the December 12, 2017 DOJ                                                                                      questionnaire. I also discussed
                   Letter. . .” ¶ 8.                                                                                                        with Mr. Davidson and Mr.
                                                                                                                                            Uthmeier the possible content of
                                                                                                                                            such a letter in general terms.” ¶
                                                                                                                                            11.
Familiarity with   “I was unaware of the late Dr. Thomas      “I have never met,               “”I had never heard  “I was personally       “I have never met, communicated
Hofeller           Hofeller . . . I have never met, spoken    communicated with, or            of Dr. Hofeller . . .”
                                                                                                                    acquainted with Dr.     with, or spoken to Dr. Thomas
                   to, or otherwise communicated with Dr.     spoken to Dr. Hofeller.” ¶ 2.    ¶ 2.                 Thomas Hofeller,        Hofeller.” ¶3
                   Hofeller.” ¶¶ 10-11.                                                                             whom I have known
                                                                                                                    for many years.” ¶
                                                                                                                    2.
Awareness of       “I was also unaware of a one-              “I was similarly unaware of      “I was similarly     “I had never seen …     No language.
Hofeller’s VRA     paragraph document purportedly             . . . the 2017 draft paragraph   unaware of . . . the the one-paragraph
Rationale          recovered from his files after his death   that discusses the Voting        2017 draft paragraph document, allegedly
                   that discusses compliance with the         Rights Act.” ¶ 4.                that discusses the   created in 2017, that
                   Voting Rights Act as a justification for                                    Voting Rights Act.” allegedly was
                   including a citizenship question on the                                     ¶ 2.                 retrieved from Dr.
                   census.” ¶ 10.                                                                                   Hofeller’s computer
                                                                                                                    and whose text
                                                                                                                    appears in the
                                                                                                                    Neuman Letter.” ¶
                                                                                                                    4.


                                                                                     3
                         Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 1 of 7
                        Exhibit 2: Status of Defendants’ Responses to Questions Posed on July 16, 2019


Discovery Questions Posed by Plaintiffs             Defendants’ Response                      Additional Questions
    (Motion for Sanctions at 25-27)

1. Did anyone at Commerce (including       Partial response. Jones denies having the
Neuman or Jones) have Dr. Hofeller’s       study (Jones ¶ 3), as do other Commerce
2015 study?                                declarants, but Defendants do not address
                                           whether their “trusted advisor” Neuman
                                           had the study.
2. Did anyone at Commerce (including       No response.
Neuman or Jones) appreciate that adding
a citizenship question would enable
redistricting advantageous to
“Republicans and Non-Hispanic
Whites”?

3. Even if they did not have a copy of     No response.
Dr. Hofeller’s 2015 study, did anyone at
Commerce (including Neuman or Jones)
appreciate that adding a citizenship
question would enable redistricting
advantageous to “Republicans and Non-
Hispanic Whites”?

4. What did Uthmeier mean when he          No response.
wrote to Earl Comstock in forwarding
his August 11 memo that “our hook”
was “[u]ltimately, we do not make
decisions on how the [citizenship] data
will be used for apportionment, that is
for Congress (or possibly the President)
to decide”? Ex. 40.
                           Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 2 of 7



5. What information did Jones receive         Partial response. Jones says she does not    •   Did Jones have communications with
from Hofeller relevant to redistricting or    recall discussing the citizenship question       Hofeller or Neuman about
the citizenship question and what did         with Hofeller after January 2017. Jones ¶        redistricting, apportionment, or the
she share with individuals at                 2. She does not address whether she              VRA rationale?
Commerce?                                     discussed redistricting or apportionment,    •   What were Jones’ communications
                                              what her discussions were with Hofeller          with Hofeller about the citizenship
                                              prior to 2017, or what she shared with           question prior to 2017?
                                              others at Commerce.                          •   Did she communicate with anyone at
                                                                                               Commerce about any of these topics?

6. Did any of the information she had         No response.
(including that received prior to the start
of the Administration) play any role in
her contributions to Secretary Ross’s
March 26 decisional memo?

7. Did anyone at DOJ appreciate that          No response.
adding a citizenship question would
enable redistricting advantageous to
“Republicans and Non-Hispanic
Whites”?

8. What was the substance of Gore’s           No response.
discussion of “apportionment” with
Davidson and Uthmeier?

9. What did Gore discuss with the             No response.
White House?

10. Did others at DOJ discuss these           No response.
matters with the White House, with
Neuman, or with Dr. Hofeller?




                                                                  2
                          Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 3 of 7



11. Who asked Dr. Hofeller to ghostwrite     No response.
the VRA rationale that appears in the
draft DOJ letter that Neuman gave Gore?
Someone must have asked Dr. Hofeller
to draft it.

12. How did Dr. Hofeller’s ghostwritten      No response.
VRA rationale reach Neuman?

13. Did Commerce officials in their          Partial response. Comstock, Davidson,         •   Did anyone else at Commerce have
editing of the draft DOJ letter relay the    and Uthmeier deny direct contacts with            contacts, directly or indirectly, with
VRA rationale?                               Hofeller. Davidson (but not the others)           Hofeller?
                                             says he was unaware of the Neuman letter      •   Was anyone at Commerce (including
                                             (Davidson ¶ 5), and Comstock (but not the         Comstock and Uthmeier) aware of
                                             others) says he had no communications             Neuman’s letter?
                                             with Gore or “anyone at DOJ” about the        •   Did anyone at Commerce (including
                                             letter. Comstock ¶ 4. None of them deny           Uthmeier or Davidson) convey the
                                             being aware that the VRA rationale was            VRA rationale to DOJ?
                                             being provided to DOJ.
14. Did Hofeller give the VRA rationale to   No response.
Neuman directly?

15. Why didn’t Gore identify Neuman,         Partial response. Gore testified at his       •   If Gore did not get the VRA rationale
Davidson, or Uthmeier at deposition          deposition that other than Herren, Pickett,       from Neuman or Commerce officials,
when he provided a list of other people      Gary, and Aguinaga, Gore did not recall           where did he get it from?
who provided input in drafting the DOJ       anyone else from whom he received input       •   Why did Gore tell congressional
letter?                                      on the draft of the DOJ letter to                 investigators he received input from
                                             Commerce. (Defs’ Ex. 5 150:21-151:20).            Davidson and Uthmeier on the letter?
                                             Gore claims he did not “rely upon the             See ECF 635-2, Ex. 13 at 21, 139-40,
                                             Neuman letter or any other information            166-69 (“Q: Did [Davidson and
                                             provided to me by Mr. Neuman, in                  Uthmeier] give you any comments,
                                             drafting the Gary Letter,” Gore ¶ 9. Gore         feedback, advice about the drafting of
                                             also claims he “did not rely upon anything        that letter? Mr. Gardner. You can


                                                                 3
                         Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 4 of 7



                                            communicated by Mr. Davidson, Mr.                 answer that with a yes or no. A: Yes.
                                            Uthmeier, or anyone else at the                   Q: Just to be clear, does that yes
                                            Department of Commerce in drafting the            pertain to both Peter Davidson and
                                            Gary Letter.” ¶ 11. This conflicts with           James Uthmeier or one or the other?
                                            what Gore told congressional investigators        A: Both.”).
                                            and Davidson’s account. Davidson ¶ 7          •   Why does Gore state in his
                                            (“We discussed the drafting and the timing        declaration that he discussed the
                                            of a letter... We also discussed the possible     content of the Request letter with
                                            contents of such a letter in general              Uthmeier “in general terms” (Gore ¶
                                            terms”).                                          11), when Uthmeier denies such a
                                                                                              role? Uthmeier ¶¶ 6-7.
16. Where are the other “versions” of the   Partial response. Davidson, Uthmeier, and    •    Why would Neuman lie about
draft DOJ letter that Neuman testified he   Comstock’s Declarations all state they did        working on “versions” of the letter?
worked on with Davidson, Uthmeier, and      not receive any drafts of the DOJ letter,    •    If Neuman got this wrong, why
Comstock?                                   including Neuman’s draft. Davidson                haven’t Defendants provided a
                                            further avers he was not aware that               declaration from their “trusted
                                            Neuman had a draft letter (Davidson ¶ 5),         advisor” correcting his testimony?
                                            but Uthmeier and Comstock do not make        •    Why would Neuman specifically
                                            similar representations. The declarations         identify Davidson, Comstock, and
                                            from the Commerce General Counsel’s               “people that work for Earl” as
                                            office and information technology                 individuals who “were reviewing and
                                            specialists confirm they performed                offering thoughts on draft versions”?
                                            supplemental searches on Davidson,                ECF 635-2 Ex. 12 at 283-284.
                                            Uthmeier, and Comstock’s government          •    Why would Neuman testify he
                                            email accounts, but do not address                provided his comments on the draft
                                            whether they searched physical files or           letter to Uthmeier? Id. at 284.
                                            personal emails. Cannon II ¶¶ 2-4,           •    Why didn’t Uthmeier correct this
                                            McKenzie ¶¶ 3-4, Ware ¶¶ 5-7.                     testimony at Neuman’s deposition if
                                                                                              it was false?
                                                                                         •    Why did Defendants limit their
                                                                                              supplemental searches to government
                                                                                              email accounts and not search
                                                                                              personal emails or physical files?


                                                                4
                          Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 5 of 7



17. Why weren’t these included in the          No response.                                   •   Did Comstock, Uthmeier, Davidson,
Administrative Record or identified on a                                                          or anyone else at Commerce get rid
privilege log?                                                                                    of the versions of the letter?
                                                                                              •   Why did Comstock initiate a
                                                                                                  discussion with Secretary Ross about
                                                                                                  curating the Administrative Record?
                                                                                              •   How did Comstock and others at
                                                                                                  Commerce interpret Secretary Ross’
                                                                                                  directive to be “very careful, about
                                                                                                  everything” (AR 12476), and did that
                                                                                                  directive have anything to do with the
                                                                                                  dearth of Administrative Record
                                                                                                  materials prior to the DOJ request?
18. Why didn’t DOJ disclose on its             Partial response. Gore states “at the time I   •   If Gore did not recall where the letter
privilege log that the draft DOJ letter came   produced these documents to counsel for            came from, what was Defendants’
from Neuman?                                   the Defendants, I did not recall exactly           basis for telling the Court on June 3,
                                               where I had received the Neuman Letter”            2019 that it was obvious that the
                                               and “after Mr. Neuman produced the                 letter came from Neuman such that
                                               Neuman Letter ... I realized that the              “Plaintiffs have known since at least
                                               document in my possession must have                October 23, 2018 that Gore had the
                                               come from Neuman.” Gore ¶ 17.                      Neuman letter”? ECF 601 at 3.
                                                                                              •   If Gore did not know where the letter
                                                                                                  came from, what was Defendants’
                                                                                                  basis for asserting privilege to
                                                                                                  withhold the document?
                                                                                              •   Neuman produced his version of the
                                                                                                  letter on October 25, 2018, two days
                                                                                                  after DOJ represented that they did
                                                                                                  not know the Neuman letter’s
                                                                                                  provenance. When (and under what
                                                                                                  circumstances) did Gore review the
                                                                                                  Neuman production, and why didn’t
                                                                                                  he correct the record then?


                                                                   5
                          Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 6 of 7



19. Why didn’t Defendants correct            Partial response. Gore avers that “the     •    Why did Gore tell congressional
Neuman’s materially false testimony that     Neuman letter was not a draft of the Gary       investigators that the document he
his October 2017 meeting with Gore was       Letter,” Gore ¶ 7, but does not deny their      received from Neuman was a “draft
not about a draft DOJ letter requesting a    meeting was about the DOJ letter. Neither       letter that would request
citizenship question on the 2020 Census,     Defendants nor Uthmeier address why             reinstatement of the citizenship
that Neuman gave Gore only a different       Uthmeier did not correct this or the other      question . . .”? ECF 635-2, Ex. 13, Tr.
document at that meeting, and that           misstatements at Neuman’s deposition.           26.
Neuman was not involved in the drafting                                                 •    Why didn’t other defense counsel
process for the DOJ letter at all?                                                           correct Neuman’s misstatements at
                                                                                             his deposition?
20. Was Uthmeier aware that Neuman           No response. Uthmeier states only that he
gave Gore the draft DOJ letter, and if so,   did not see or receive any drafts of the
why didn’t he correct Neuman’s               Neuman letter. He does not deny that he
testimony?                                   had contemporaneous knowledge of the
                                             Neuman letter’s existence. Uthmeier ¶ 6.
21. Who were the White House officials       Partial response. In their brief,           •   Who were the other members of the
that Uthmeier testified he consulted with    Defendants cite documents from the              White House staff who discussed the
about the citizenship question?              Administrative Record and discovery             matter with Uthmeier?
                                             production and state that beyond John       •   Beyond Uthmeier, what other
                                             Zadrozny, “Uthmeier likely had                  contacts did senior Commerce
                                             communications with other members of            officials have with the White House
                                             the White House staff” including James          about the citizenship question, and
                                             Sherk, Theo Wold, and George Doty.              why weren’t these communications
                                             Defendants do not confirm this is a             reflected on any logs?
                                             comprehensive list. Uthmeier does not       •   What was the timing and content of
                                             address whom he consulted in his                such communications, and why
                                             declaration.                                    would they not have been responsive
                                                                                             to Plaintiffs’ Interrogatory No. 1?




                                                                6
                          Case 1:18-cv-02921-JMF Document 654-2 Filed 08/09/19 Page 7 of 7



22. Why didn’t Defendants disclose the       Partial response. Defendants state that    If the Defendants disclosed another non-
role of these White House officials,         they were not included because they were   governmental official (Kris Kobach) “for
Neuman, Hofeller, or John Baker in their     not “government officials.” None of the    the sake of completeness,” why did they
interrogatory responses?                     declarants (including Comstock who         omit other non-governmental
                                             verified the initial responses) confirms   individuals?
                                             that the interrogatory response is
                                             comprehensive.
23. Was the identity of these individuals    No response.                               Were Commerce officials aware of
known to Mr. Comstock when he                                                           anyone else, inside or outside the
certified the interrogatory response?                                                   Administration, who “previously raised”
                                                                                        the citizenship question? If so, why are
                                                                                        none of these communications reflected
                                                                                        in the Administrative Record?
24. Were they known to any of the DOJ        No response.                               Have each of the DOJ senior officials
officials who consulted on Secretary                                                    involved in drafting the June 21, 2018
Ross’s June 21 memo?                                                                    supplemental memorandum (ECF 635-5,
                                                                                        Exs. 48-49) been interviewed about the
                                                                                        identity of anyone else who “previously
                                                                                        raised” the citizenship question? If not,
                                                                                        why not?
25. Do Defendants now assert that Gore’s     No response.
motivation and guide for requesting a
citizenship question was the Evenwel case
about potential use of citizenship data in
redistricting, as opposed to VRA
enforcement?
26. Do they assert that Gore relied on       No response.
Evenwel amicus briefs which concluded
that ACS data was sufficient for VRA
enforcement and that adding a citizenship
question to the Census would depress
turnout and reduce accuracy?



                                                                7
                               Case 1:18-cv-02921-JMF Document 654-3 Filed 08/09/19 Page 1 of 2
            Exhibit 3: Log of Administrative Record Documents James Uthmeier Authored or Received Prior to August 11, 2017


 DATE          Begin Bates     Production        AUTHOR          RECIPIENT                  SUBJECT                             Privilege Issues
                                              Keller,
                                              Catherine B
                             Administrative   (United States
6/23/2017   AR 11319                                            Uthmeier, James   2020 Census
                             Record           of America
                                              Dept of
                                              Commerce)
                             Administrative   Uthmeier,                           Accepted Hold Meet with James
6/27/2017   AR 3705                                             Comstock, Earl
                             Record           James                               Re Census and Citizenship
                             Administrative   Uthmeier,         Shambon,
6/27/2017   AR 11355                                                              Census
                             Record           James             Leonard
                                                                Shambon,
                             Administrative   Uthmeier,
6/27/2017   AR 12824                                            Leonard           Census
                             Record           James (Federal)
                                                                (Federal)
                             Administrative
7/11/2017   AR 11317                          Schnell, Austin   Uthmeier, James   Hearing Prep Census
                             Record

                             Administrative   Schnell, Austin                     (Attachment to AR 11317)        Withheld in Full; Draft Qs&As on
7/11/2017   AR 11318
                             Record           (Federal)                           Hearing Prep - Census.docx      citizenship question for hearing prep

                             Administrative    Uthmeier,
7/11/2017   AR 11336                                            Schnell, Austin   Hearing Prep Census
                             Record           James (Federal
                             Administrative
7/11/2017   AR 11339                          Schnell, Austin   Uthmeier, James   Hearing Prep Census
                             Record

                             Administrative   Schnell, Austin                     (Attachment to AR 11339)        Withheld in Full; Draft Qs&As for hearing
7/11/2017   AR 11340
                             Record           (Federal)                           Hearing Prep - Census.docx      prep, prepared by counsel

                             Administrative   Uthmeier,
7/11/2017   AR 11354                                            Schnell, Austin   Hearing Prep Census
                             Record           James
                             Administrative
7/11/2017   AR 11366                          Schnell, Austin   Uthmeier, James   Hearing Prep Census
                             Record
                                                                                  (Attachment to AR
                             Administrative   Schnell, Austin                                                     Withheld in Full; Draft Qs&As for hearing
7/11/2017   AR 11367                                                              11366)Hearing Prep -
                             Record           (Federal)                                                           prep
                                                                                  Census.docx
                             Administrative
7/11/2017   AR 11368                          Schnell, Austin   Uthmeier, James   Hearing Prep Census
                             Record
                                Case 1:18-cv-02921-JMF Document 654-3 Filed 08/09/19 Page 2 of 2



  DATE          Begin Bates      Production       AUTHOR           RECIPIENT                  SUBJECT                         Privilege Issues

                               Administrative                                       (Attachment to AR 11368)     Withheld in Full; Draft Qs&As for hearing
 7/11/2017   AR 11369
                               Record           Schnell, Austin                     Hearing Prep - Census.docx   prep, prepared by counsel
                                                (Federal)
                               Administrative
 7/13/2017   AR 11364                           Schnell, Austin   Uthmeier, James   Census Responses
                               Record
                               Administrative   Schnell, Austin                     (Attachment to AR 11364)     Withheld in Full; Draft Qs&As for hearing
 7/11/2017   AR 11365
                               Record           (Federal)                           Hearing Prep - Census.docx   prep
                               Administrative   Uthmeier,         Shambon,
 8/7/2017    AR 11353                                                               Census
                               Record           James             Leonard
                                                                  Shambon,
                               Administrative   Uthmeier,
 8/7/2017    AR 12823                                             Leonard           Census
                               Record           James (Federal)
                                                                  (Federal)

** In addition to these Administrative Record documents, Defendants produced four documents in discovery that Mr. Uthmeier authored, received,
or was the custodian for dated prior to August 11, 2017: COMDIS00016544, COMDIS00016538, COMDIS00017170, and COMDIS00017421.




                                                                              2
